Case 3:17-cv-00072-NKM-JCH Document 288 Filed 03/26/18 Page 1 of 5 Pageid#: 2024

                                                                                         03/26/2018


                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Charlottesville Division

  ELIZABETH SINES, et al.,                       )
       Plaintiffs,                               )       Civil Action No. 3:17cv00072
                                                 )
  v.                                             )       ORDER
                                                 )
  JASON KESSLER, et al.,                         )       By:    Joel C. Hoppe
       Defendants.                               )       United States Magistrate Judge

         This matter is before the Court on Defendant James Alex Fields’s Motion to Stay

  Discovery. ECF No. 233. The motion has been fully briefed, and both parties addressed the

  motion at a hearing on March 16, 2018. Fields, appearing through counsel, asks the Court “to

  stay all discovery in this matter pending the outcome of [his] criminal cases arising from the

  same incidents” as alleged in the Amended Complaint. Def. Fields’s Br. in Supp. 1, ECF No.

  234. His jury trial in Charlottesville City Circuit Court is set to begin on November 26, 2018, and

  is scheduled to last for three weeks. Id. at 2. Plaintiffs oppose the motion. Pls.’ Br. in Opp’n,

  ECF No. 257.

         “[T]he power to stay proceedings is incidental to the power inherent in every court to

  control the disposition of the causes on its docket with economy of time and effort for itself, for

  counsel, and for litigants.” Landis v. N. Am. Co., 299 U.S. 248, 254 (1936). A civil litigant

  seeking an order that postpones or curtails discovery must show good cause, Fed. R. Civ. P.

  26(c), by “present[ing] a ‘particular and specific demonstration of fact’ as to why a protective

  order staying discovery should issue.” Baron Fin. Corp. v. Natanzon, 240 F.R.D. 200, 202 (D.

  Md. 2006) (quoting 8A Charles Wright & Arthur Miller, Federal Practice & Procedure § 2035

  (2d ed. 1994)); see also Kron Med. Corp. v. Groth, 119 F.R.D. 636, 637–38 (M.D.N.C. 1988).

  The fact that the moving party is a defendant in parallel criminal proceedings, without more, is



                                                     1
Case 3:17-cv-00072-NKM-JCH Document 288 Filed 03/26/18 Page 2 of 5 Pageid#: 2025




  not good cause to stay discovery in a civil case. See Maryland v. Universal Elections, Inc., 729

  F.3d 370, 379 (4th Cir. 2013). In determining whether to grant or deny a stay, district courts in

  the Fourth Circuit consider factors including: (1) whether the criminal and civil proceedings

  “involve substantially similar issues”; (2) the plaintiffs’ interest in “proceeding expeditiously

  with [the] litigation or any particular aspect of it” versus “the potential prejudice to plaintiffs of a

  delay”; (3) the burden on the defendants in being required to go forward in “any particular aspect

  of the proceedings”; and (4) the court’s interest in managing its caseload and “the efficient use of

  judicial resources.” Ashworth v. Albers Med., Inc., 229 F.R.D. 527, 530 (S.D. W. Va. 2005);

  accord Skinner v. Armet Armored Vehicles, Inc., No. 4:12cv45, 2015 WL 540156, at *4 (W.D.

  Va. Feb. 10, 2015) (citing In re Mid-Atl. Trust Litig., 92 F.R.D. 358, 359 (D. Md. 1981)).

          Noting the similarity between the allegations in his criminal case and in the Amended

  Complaint, Defendant Fields seeks to stay discovery in this case primarily because his counsel

  might advise him to invoke his Fifth Amendment right against compelled self incrimination

  during discovery, and he fears that his “refusal to answer questions may be used as an adverse

  inference against [him] . . . , and the invocation of the [constitutional] privilege would damage

  [his] ability to prevail in this case.” Def. Fields’s Br. in Supp. 4 (quoting Blanda v. Martin &

  Seibert, L.C., Civil Action No. 2:16-957, 2017 WL 63027, at *5 (S.D. W. Va. Jan. 5, 2017)). At

  the hearing, counsel for Defendant Christopher Cantwell, who is also facing state-court charges

  related to the alleged events underlying this lawsuit, raised similar objections to allowing

  discovery to proceed on schedule. 1 An individual “is free to exercise his right against self-

  incrimination at any stage of a civil proceeding to which he is a party or a witness,” including


  1
   Cantwell’s state criminal charges concern events of August 11, 2017, and his trial is scheduled for
  August 2018. Seeming to contradict his request for a stay of discovery as a defendant in this case,
  Cantwell, this time as plaintiff, has filed a lawsuit arising from events on August 11, Cantwell v.
  Gorcenski, et al., 3:17cv89, and in that case he has not requested a stay of discovery.
                                                      2
Case 3:17-cv-00072-NKM-JCH Document 288 Filed 03/26/18 Page 3 of 5 Pageid#: 2026




  during discovery, but he “is not free from an adverse inference as a result of his silence.”

  Skinner, 2015 WL 540156, at *3 (citing Baxter v. Parmigiano, 425 U.S. 308, 318 (1976)). Thus,

  allowing discovery to proceed in this case will force Fields and Cantwell “into a situation where

  [each] may choose to exercise his Fifth Amendment rights, [and] his rights will be implicated.”

  Id. at *4.

          Contrary to Defendants’ suggestion, however, staying discovery in this case until their

  parallel criminal cases are resolved “is not the only way to preserve [their] Fifth Amendment

  rights.” Id.; see Def. Fields’s Br. in Supp. 4–5. Rather, the “primary prophylactic is to

  [affirmatively] invoke one’s rights . . . . ‘in specifics sufficient to provide the court with a record

  upon which to decide whether the privilege has been properly asserted as to each question’” or

  request. Skinner, 2015 WL 540156, at *3 (quoting N. River Ins. Co. v. Stefanou, 831 F.2d 484,

  486 (4th Cir. 1987)). Fields and Cantwell are each “free to exercise his Fifth Amendment rights

  in this case,” and “[d]oing so places him at no greater disadvantage than every other litigant who

  wishes to protect his rights.” Id. at *5. “The fact that an adverse inference can be drawn against”

  him in this civil proceeding if he invokes his constitutional privilege is not reason enough to

  suspend his discovery obligations under Rule 26(c). Cf. id. (denying motion to stay civil action)

  (quoting Avalonbay Communities, Inc. v. San Jose Water Conservation Corp., Civil Action No.

  07-306, 2007 WL 2481291, at *2 (E.D. Va. Aug. 27, 2007))).

          Second, the Court shares Plaintiffs’ concern that civil discovery would be stayed

  indefinitely. See Pls.’ Br. in Opp’n 8–9. For example, although Fields notes that his state-court

  jury trial should conclude in late December 2018, see Def. Fields’s Br. in Supp. 3–5, the Fifth

  Amendment right against compelled self-incrimination affords “the same protection in the

  sentencing phase of any criminal case” as it does “in the trial phase of the same case,” Mitchell v.



                                                     3
Case 3:17-cv-00072-NKM-JCH Document 288 Filed 03/26/18 Page 4 of 5 Pageid#: 2027




  United States, 526 U.S. 314, 329 (1999) (quotation marks omitted). Thus, if Fields is convicted

  on any state-court charges, discovery in this case would be postponed at least until after his

  sentencing hearing. Cf. Skinner, 2015 WL 540156, at *4 (noting that, although defendants

  ostensibly sought a stay for between 60 and 90 days, there was “no reason to think that the

  criminal case will be concluded in that amount of time, or that any of the Fifth Amendment

  concerns they assert will have abated at the conclusion of a two-or three-month delay”).

  Indefinite stays undermine this Court’s ability to manage discovery and to “secure the just,

  speedy, and inexpensive determination of every action and proceeding,” Fed. R. Civ. P. 1, on its

  civil docket. See Skinner, 2015 WL 540156, at *5 (noting that indefinite stays are “contrary to”

  this Court’s “‘policy of efficient and expeditious resolution of cases’” (quoting Avalonbay, 2007

  WL 2481291, at *4)); Kron Med. Corp., 119 F.R.D. at 637–38 (noting that a “case becomes

  more of a management problem [for] the Court when it leaves the normal trial track” and that a

  court considering a request to stay discovery under Rule 26(c) must remember “its responsibility

  to expedite discovery and minimize delay”).

         Finally, Plaintiffs aver that Defendants’ “memories of the critical events are essential to

  [Plaintiffs’] case,” and they express concern that staying discovery would inevitably limit their

  ability to present the case because “memories fade” over time. Pls.’ Br. in Opp’n 8 (quoting In re

  Mid-Atl. Trust Litig., 92 F.R.D. at 359). Fields did not address this concern in his brief, and

  instead argued that staying discovery for “the next 10 months” would not prejudice Plaintiffs’

  ability to enforce a judgment against him if they ultimately prevailed on the merits. Def. Fields’s

  Br. in Supp. 3–4. While the Court agrees with Plaintiffs that any stay of discovery in this case

  would be indefinite and most likely prolonged, it finds Plaintiffs’ concern that their “case will

  deteriorate as a result of the stay” to be overstated because discovery could go forward against all



                                                    4
Case 3:17-cv-00072-NKM-JCH Document 288 Filed 03/26/18 Page 5 of 5 Pageid#: 2028




  other Defendants, albeit to a lesser extent against Cantwell, except Fields and Cantwell. See Pls.’

  Br. in Opp’n 8 (quoting In re Phillips, Beckwith & Hall, 896 F. Supp. 553, 559 (E.D. Va. 1995)

  (“A party is not entitled to delay resolution of a civil action, even to accommodate her Fifth

  Amendment interests, if her adversary’s case will deteriorate as a result of the stay.”))). More

  persuasive is Plaintiffs’ interest in proceeding expeditiously with their civil claims against Fields

  and Cantwell considering that an indefinite stay would likely last for years rather than several

  months. This factor weighs against staying discovery pending the resolution of Defendant

  Fields’s and Cantwell’s state-court criminal cases.

         Accordingly, for these reasons and those stated on the record during the March 16

  hearing, Defendant Fields’s Motion to Stay Discovery, ECF No. 233, is hereby DENIED. At the

  hearing, Plaintiffs noted that Defendants discovery responses are past due. Accordingly,

  Defendants shall respond to Plaintiffs’ discovery requests within twenty-one (21) days.

         At the March 16 hearing, Plaintiffs’ counsel indicated that they were willing to take the

  state-court criminal matters’ schedules into account when scheduling Defendant Fields’s and

  Defendant Cantwell’s depositions in this case. Although the Court finds that staying discovery

  pending the resolution of these Defendants’ parallel criminal matters is not necessary at this

  time, the Court strongly encourages counsel to coordinate discovery in an effort to mitigate or

  avoid any Fifth Amendment concerns.

         It is so ORDERED.

         The Clerk shall deliver a copy of this Order to counsel of record.

                                                ENTER: March 26, 2018



                                                Joel C. Hoppe
                                                United States Magistrate Judge


                                                    5
